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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of NewofJersey
                                                                               __________
 IN RE: JOHNSON & JOHNSON TALCUM POWDER
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 3:16-md-2738-MAS-RLS
   PRODUCTS MARKETING, SALES PRACTICES                                         )
     AND PRODUCTS LIABILITY LITIGATION                                         )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                         Pricewaterhousecoopers LLP (attn: Custodian of Records) c/o United Agent Group Inc.
 To:                        600 MAMARONECK AVENUE, #400, HARRISON, NY, UNITED STATES, 10528
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
             All communications and documents set forth in Schedule A.



  Place: Golomb Legal                                                                   Date and Time:
           1835 Market St #2900
                                                                                                  February 29, 2024 at 12 p.m. Eastern
           Philadelphia, PA 19103

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/15/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   s/ Michelle A. Parfitt
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiffs' Steering Committee                                          , who issues or requests this subpoena, are:
Ashcraft & Gerel, LLP, 1825 K Street NW, Suite 700, Washington, DC 20006, mparfitt@ashcraftlaw.com, (703) 824-4762

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:16-md-2738-MAS-RLS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

                                           DEFINITIONS

        For purposes of these requests, the following definitions shall apply:

 1.     The words “and” and “or” are intended to be construed conjunctively or disjunctively as

 necessary to make the request inclusive rather than exclusive.

 2.     “Communication,”       whether     singular       or   plural,   means   oral   communications,

 correspondence, memoranda, reports, records of telephone calls, text messages, records of minutes

 or any meetings, emails, social media, and all other forms of oral or written expression by which

 information may be conveyed or maintained.

 3.       “J&J” refers to Johnson & Johnson, Johnson & Johnson Consumer Inc. f/k/a Johnson &

 Johnson Consumer Companies, Inc., and LLT Management LLC, as well as all of their partners,

 directors, officers, employees, servants, agents, attorneys, joint venturers, third-party contractors

 or other representatives, including all corporations and entities affiliated with J&J. The term “J&J”

 shall also include all predecessor business entities, as well as any predecessor’s partners, directors,

 officers, employees, servants, agents, attorneys, joint venturers, third-party contractors or other

 representatives. The term “J&J” shall also include all foreign subsidiaries or foreign parent

 companies, as well as any foreign subsidiaries’ or parent companies’ partners, directors, officers,

 employees, servants, agents, attorneys, joint venturers or other representatives.

 4.      “Person,” whether singular or plural, means the plural as well as the singular and includes

 any natural person, alive or deceased, any firm, partnership, joint venture, joint stock company,

 unincorporated association or society, municipal or other corporation, any city, state, its agencies

 or political subdivisions, any court, the federal government, the state government, any other

 government entity, or any form of legal entity.

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 5.     The singular form shall be deemed to apply to the plural where applicable, and vice versa.

 6.     “PWC,” “You,” “Your,” or “Yourself” means the plural as well as the singular and includes

 the responding party as well as all agents, employees, directors, officers, attorneys, any other

 representatives, predecessors, or successors.

                                          INSTRUCTIONS

 1.     Manner of Responding: In responding to these Document requests, You should furnish

 such Information that is known or available to You, regardless of whether this Information is

 obtained directly by You, at Your direction, or obtained by any of Your attorneys or other agents

 or representatives. Your written response shall state, with respect to each item or category, that

 inspection and related activities will be permitted as requested unless the request is refused, in

 which event the reasons for refusal shall be stated. If the refusal relates to part of an item or

 category, the part shall be specified.

 2.     In Case of Ambiguity. If you object that a request is vague or ambiguous, identify the

 objectionable aspect of the request and set forth the construction used in responding.

 3.     Manner of Producing.

              (a)     One legible copy of each non-duplicate Document requested is to be

                      produced. Any copy of a Document that varies in any way whatever from the

                      original or from any other copy of the Document, whether by reason of

                      handwritten or other notation or any omission, shall constitute a separate

                      Document and must be produced.

              (b)     All Documents produced in response to an individual request shall be

                      physically segregated from Documents produced in response to any other

                      requests, and the request to which they are responsive shall be specifically


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                       identified. If a Document is responsive to more than one request, each of the

                       requests to which the Document is responsive shall be specifically identified.

                 (c)   In producing the Documents, all Documents which are physically attached to

                       each other shall be left so attached. Documents which are segregated or

                       separated from other Documents, whether by inclusion in folders, sub-folders,

                       binders, files, sub-files, or by use of dividers, tabs, or other methods, shall be

                       left so segregated or separated. If the folders, sub-folders, binders, files, sub-

                       files, dividers, tabs or other method of segregating or separating documents

                       bears a name or label, such name or label shall also be produced with the

                       Documents. Documents shall be retained in the order in which they are

                       maintained in the file where they are found.

                 (d)   In producing ESI, all Documents shall be produced in the format in which

                       they are kept in the ordinary course of business. For example, Documents

                       maintained in Excel shall be produced in Excel. If Documents are maintained

                       in proprietary software, they shall be produced in a reasonably usable format

                       agreed upon by the Parties prior to production. ESI should be produced in

                       native format.

 4.     Possession, Custody, Control. These requests seek Documents within Your possession,

 custody, or control. Where Documents or things in the possession, custody, or control of any

 individual, firm, corporation, or partnership are requested, such request also pertains to Documents

 in the possession, custody, or control of employees, agents, guardians, partners, representatives,

 and – unless privileged or protected – attorneys of such individuals, firms, corporations, or

 partnerships.


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 5.     Time Frame. Unless otherwise stated, the answering party must produce documents from

 January 1, 2014 through February 14, 2024.

 6.     Lost or Destroyed Documents. If any Documents herein have been lost, discarded, or

 destroyed, please furnish a list identifying each such Document as completely as possible

 including, without limitation, the following information: its author and addressee, each Person to

 whom copies of the Document were furnished or to whom the contents thereof were

 communicated, a summary of the substance of the Document, the date that the Document was

 created, the date that the Document was communicated to the addressee, the date (or approximate

 date) of its disposal, the manner of its disposal, the reason for its disposal, the Person authorizing

 its disposal, and the Person disposing of the Document.

 7.     Burdensomeness.       If a refusal to produce Documents is stated on the ground of

 burdensomeness, identify the number and nature of Documents that must be searched to locate the

 requested Documents, and the number of Person hours and costs required to conduct the search.

                           DOCUMENTS SUBJECT TO SUBPOENA

 1.     All communications between J&J, its internal and external advisors and PWC regarding its

 contingent liability for J&J’s talcum powder products including, but not limited to, the process for

 removing said talc liability from its balance sheet (or consolidated balance sheet).




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